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                                                                        May 31, 2022

        Mr. Larry Cantlin
        Student Advocacy Center of Michigan
        124 Pearl St., Suite 504
        Ypsilanti, MI 48917

                Re: Special Education Concern (Email dated May 27, 2022)

        Mr. Cantlin,

        My client received your email dated May 27, 2022 wherein you raised a concern about a
        scheduled expulsion hearing set for June 2, 2022 for a student   related to an incident
        on May 5, 2022.

        The student        is currently suspended from school for 45-days as a result of a
        Manifestation Determination Review decision that determined ’s misconduct on May 5,
        2022 was a manifestation of her disabilities. The misconduct here was ’s possession of
        a knife with a blade longer than 3-inches at school and the threatening of another student
        with the knife. The threat required law enforcement to be called and their intervention to
        halt the threat.

        Pursuant to the IDEA, where special circumstances are present as here, a local school
        district properly places a student in an interim alternative setting (IAES) for up to 45-days
        where it is determined that misconduct is a manifestation then the maximum suspension
        is 45-days. 20 U.S.C. § 1415(k)(1)(G)(i). As you note in your email, the District’s IEP
        Team placed in an IAES as permitted by the IDEA. 20 U.S.C. § 1415(k)(2), which was
        effective May 10, 2022.

        The District agrees that further disciplinary action is limited by the Individuals with
        Disabilities Education Act, in particular 20 U.S.C. § 1415(k)(1)(G). The District will
        therefore be cancelling the expulsion hearing set for June 2, 2022.

        Per the IAES documentation, the removal for special circumstances will be for a total of
        45 school days. This period will run through the end of this school year (June 10) for a
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total of 22 1/2 school days. It will continue at the beginning of the 2022-23 school year for
another 22 1/2 school days until October 3, 2022. At that time, again as stated in the IEAS
documentation,        will be placed in a 30-day temporary placement in the District’s
Emotional Impairment program at the District’s Walled Lake Northern high school. During
this 30-day temporary placement, the District will conduct a Functional Behavior
Assessment and then potentially create a Behavior Intervention Plan. 20 U.S.C.
§ 1415(k)(1)(F)(i), (ii).

Thus, contrary to your email,     will not be returning to school until the 45-day period
ends. And at that time the 30-day temporary placement in the EI program will commence.
The IEP team with thereafter review all relevant data and documents to determine the
appropriate placement for .

Relatedly, it is my understanding that you made a request for records to the District. Since
the expulsion hearing will be cancelled, please let me know if you would still request those
records.

Please let me know if you have any questions or would like to discuss the foregoing
further.


                                                                       Regards,




                                                                       Travis Comstock
TC

cc:        Deputy Superintendent Dr. Michael Lonze (MichaelLonze@wlcsd.org)
           Director of Special Services Ms. Nichole Moore (NicholeMoore@wlcsd.org)
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